Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 1 of 8 PageID: 99
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 2 of 8 PageID: 100
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 3 of 8 PageID: 101
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 4 of 8 PageID: 102
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 5 of 8 PageID: 103
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 6 of 8 PageID: 104
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 7 of 8 PageID: 105
Case 2:12-cr-00369-ES   Document 36   Filed 09/24/12   Page 8 of 8 PageID: 106
